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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION - CINCINNATI

ALONZO JOHNSON, JR.,                                    :        Case No. 1:20-cv-480
                                                        :
                    Plaintiff,                          :        Judge Matthew W. McFarland
                                                        :
    vs.                                                 :
                                                        :
CHIEF INSPECTOR                                         :
CENTRAL OFFICE, et al.,                                 :
                                                        :
                    Defendants.                         :


            ORDER ADOPTING REPORT AND RECOMMENDATION (DOC. 4)


           The Court has reviewed the Report and Recommendation (Doc. 4) of United States

Magistrate Judge Stephanie K. Bowman, to whom this case is referred pursuant to 28

U.S.C. § 636(b). As no objection to the Report and Recommendation has been filed and

the time to do so has expired, the Court ADOPTS the Report and Recommendation in its

entirety. Accordingly, the Court hereby ORDERS:

1.         This case is DISMISSED for Plaintiff’s failure to pay the full filing fee as ordered
           by the Court;

2.         Plaintiff is ASSESSED the full filing fee of $400.00;

3.         The Clerk of Court is DIRECTED to mail a copy of this Order to the Cashier of the
           prison at which Plaintiff is confined, and the Cashier is DIRECTED as follows:

           The prison’s Cashier shall deduct, and forward to the Clerk of Court, 20%
           of the preceding month’s income credited to Plaintiff’s account each time
           the amount in the account exceeds $10.00 until the full fee has been paid. 1

4.         The Court CERTIFIES pursuant to 20 U.S.C. § 1915(a)(3) that, for the reasons set
           forth in the Report and Recommendation, an appeal of this Court’s Order would
           not be taken in good faith.

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    The prison cashier’s office shall not send payments aggregating more than the amount of the full fee.
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     IT IS SO ORDERED.

                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF OHIO


                                      By:      /s/ Matthew W. McFarland b
                                            JUDGE MATTHEW W. McFARLAND




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